!"#$%&#'()*+##,-./%0#!123##"45)4#()6745896#:;<8;9#=;4#2)9<)9>)#()5?><8;9#@?4A?79<#<;#/-#B+2+C+#D#EF-$'>0'$0


                                       BGHIJ3#2I!IJ2#3H2I(HCI#C"B(I
                                                                         =;4#<K)
                                                       Southern District of Alabama
                                                      LLLLLLLLLL#38A<48><#;=#LLLLLLLLLL

                    B98<)5#2<7<)A#;=#!M)48>7
                               *+                                           0
                                                                            0
                   ADRIANNE DAVIS MILLER                                    0   C7A)#G;N        14-00054-004
                                                                            0   B2:#G;N 15437-002
37<)#;=#"486897O#P?56M)9<N                            04-23-2015            0
37<)#;=#@4)*8;?A#!M)95)5#P?56M)9<N                                          0   Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        BQ;9#M;<8;9#;= !   ✔  <K)#5)=)9579< ! <K)#384)><;4#;=#<K)#R?4)7?#;=#@48A;9A# ! <K)#>;?4<#?95)4#/-#B+2+C+
D#EF-$'>0'$0#=;4#7#4)5?><8;9#89#<K)#<)4M#;=#8MQ48A;9M)9<#8MQ;A)5#S7A)5#;9#7#6?85)O89)#A)9<)9>896#4796)#<K7<#K7A
A?SA)T?)9<OU#S))9#O;V)4)5#795#M75)#4)<4;7><8*)#SU#<K)#B98<)5#2<7<)A#2)9<)9>896#C;MM8AA8;9#Q?4A?79<#<;#$-#B+2+C+
D#WW%'?0X#795#K7*896#>;9A85)4)5#A?>K#M;<8;9X#795#<7Y896#89<;#7>>;?9<#<K)#Q;O8>U#A<7<)M)9<#A)<#=;4<K#7<#B22Z#D/R/+/,
795#<K)#A)9<)9>896#=7><;4A#A)<#=;4<K#89#/-#B+2+C+#D#EFFE'70X#<;#<K)#)[<)9<#<K7<#<K)U#74)#7QQO8>7SO)X
IT IS ORDERED#<K7<#<K)#M;<8;9#8AN
           !✔ 3JGHJ3+# ! Z(!GIJ3#795#<K)#5)=)9579<\A#Q4)*8;?AOU#8MQ;A)5#A)9<)9>)#;=#8MQ48A;9M)9<#(as reflected in
the last judgment issued)#;=                     M;9<KA#is reduced to                                      +

                                              (Complete Parts I and II of Page 2 when motion is granted)


ADDITIONAL COMMENTS
 The defendant was sentenced after November 1, 2014, and received a sentence which takes into account the lowered
 guideline range.




J[>)Q<#7A#;<K)4V8A)#Q4;*85)5X#7OO#Q4;*8A8;9A#;=#<K)#]?56M)9<#57<)5                                               AK7OO#4)M789#89#)==)><+
IT IS SO ORDERED+

"45)4#37<)N                  10-26-2015                                                          /s/ Callie V. S. Granade
                                                                                                       Judge’s signature


J==)><8*)#37<)N                                                                               United States District Judge
                     (if different from order date)                                                 Printed name and title
